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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

l\/I’Lissa Foreman : Civil Action No.
Plaintiff,
vs.

LAW OFFICE ()F CURTIS O. BARNES,
P.C.

Defendant,

 

COl\/IPLAINT

Plaintiff, l\/l’Lissa Foreman, by her attorney Ray Johnson, for her claims against the

Defendant states:
l. INTRODUCTION

l. This is an action for damages brought by an individual consumer for Dei`endant’s
violations of the Fair Debt Collection Practices Act, l5 U.S.C. § l692, et seq. (hereinafter
“FDCPA”) and lovva Unlavvful Debt Collection Practices Act, IoWa Code § 537.7l03, et seq.
(hereinafter, “State Act”), vvhich prohibits debt collectors from engaging in abusive, deceptive,
and unfair practices

ll. JURSIDICTION AND VENUE

2. Jurisdiction ofthis Court arises under l5 U.S.C. § l692k(d), 28 U.S.C. §
l337, and supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.
Declaratory reliefis available pursuant to 28 U.S.C. §§ 220l and 2202. Venue in this District is
proper in that the Defendant transacts business here and the conduct complained of occurred

here.

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lll. PARTIES

3. l\/lrs. Foreman is a natural persons residing in Polk County_, loWa.

4. Defendant, Lavv Offices of Curtis O. Barnes, P.C. (hereinafter “Curtis Barnes”) is a
Business engaged in the collection of debts in the state of lovva With its principal place of
business located in Anaheim, California.

5. Defendant is a “debt collector” as defined by the FDCPA, l5 U.S.C. § l692a(6).

l\/. FACTUAL ALLEGATIONS

6. Curtis Barnes Was attempting to collect an alleged credit card debt from l\/lrs.
Foreman.

7_ On February 5, 2008, l\/lrs. Foreman received tvvo phone calls. One Was from her
mother-in-lavv and the other vvas from her sister. Both of l\/lrs. Foreman’s relatives told her a law
firm vvas trying to contact her for “pending legal action.” The information had been provided to
Foreman’s relatives by Curtis Barnes.

8. l\/lrs. Foreman returned the calls to Defendant Curtis Barnes, and she spoke vvith a
debt collector calling herself l\/ls. Calabretta. l\/lrs. Foreman tried to negotiate the amount of the
alleged debt, but the Defendant Barnes refused her suggested payment plan. The Defendant also
stated it Was charging 32 percent interest

9. The debt collector then told l\/ls. Foreman that litigation Would be filed against her on
February l51h, 2008 if she could not obtain the money. The debt collector threatened that the
Defendant could put a lien on her home. ln addition, someone from the sherist office vvould
visit her home twice a month to collect lOO percent of her income. The Defendant also
threatened to garnish l\/ls. Foreman’s bank accounts Ms. Foreman told the debt collector she

needed time to speak With her family.

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lO. l\/ls. Foreman spoke With the debt collector on February 6th. The debt collector

reiterated the threats.

l l . l\/ls. Foreman has not been sued for the alleged debt contrary to the Defendant’s
threats Defendant had no intention of filing suit on or before the deadline, nor did Defendant
have any intention of filing a lawsuit at all.

V. FIRST CLAll\/l OF RELIEF
l2. All facts and allegations of this Complaint are incorporated herein by reference
l3. Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, the following:
a. Defendant violated l5 U.S.C. § l692c(b) by communicated vvith a third party
regarding the alleged debt Without prior consent from the consumer
b. Defendant violated l5 U.S.C. § l692e(4) by threatening imminent lawsuits,
liens, and/or garnishment When the debt collector did not intend to take such
action and/or could not legally take such action.
l4. As a result of the above violations oftlie FDCPA, the Defendant is liable to
l\/ls. Foreman for declaratory judgment that Defendant’s conduct violated the FDCPA, and l\/ls.
Foreman’s actual damages, statutory damages, and costs and attorney’s fees.
Vl. SECOND CLAIl\/l FOR RELIEF
15. All facts and allegations of this Complaint are incorporated herein by reference
16. F or purposes of Ms. Foreman’s alleged obligation to Defendant, Defendant Was a

“creditor” as defined in lovva Code § 537.7102(2).

l7. l\/ls. Foreman’s alleged obligations to Defendant Were “debts” as defined by lovva

code § 537.7102(3)_

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l 8. With regard to attempts to collect from l\/Is. Foreman as alleged herein, Defendant
was a “debt collector” engaged in “debt collection” as defined by lowa Code §§ 537.7102(4) and
(5).

l8. Defendant violated the State Act. The foregoing acts, omissions and practices of
Defendant were violations of lowa Code § 537.'7l 03, including but not limited to:

a. Taking actions and/or threatening to take actions prohibited by law in
violation of lowa Code § 537.7l03(l)(e) and (f), including threatening
lawsuits, liens, and garnishments for nonpayment of a debt when Defendant

did not intend to take these actions and/or could not legally take such actions

b. Contacting third parties regarding the alleged debt in violation of lowa Code §
537.7103(3)(a).

l9. As a proximate result of the unfair debt collection, l\/ls. Steward has suffered actual
damages and injury including, but by no means limited to, mental anguish and suffering,
emotional distress, humiliation, and embarrassment, for which she should be compensated in an
amount to be proven at trial.

WHEREFORE, Ms. Foreman respectfully requests that judgment be entered against the
Defendant for the following:

A. Actual damages;

B. Statutory damages',

C. Costs and reasonable attorney’s fees; and

D. F or such other relief as the Court deems appropriate in the circumstances

Respectfully submitted,

 

Johnson Law Firm

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950 Office Park Road

Suite 335

W. Des l\/loines, lowa 50265
Phorie: (515) 224-7090

Fax: (515) 222-2656
lohnsonlaw29@aol.com

 

